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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA, DEPARTMENT OF )
 TRANSPORTATION & PUBLIC        )
 FACILITIES,                    )
                                )
                Plaintiff,      ) Case No. 3:20-CV-00306-JWS
                                )
        vs.                     )
                                )
 2.396 ACRES MORE OR LESS NEAR  )
 BETHEL, ALASKA, et al.,        )
                                )
                Defendants.     )
                                )
                                )

          UNOPPOSED MOTION TO SUBSTITUTE EXPERT

     The United States, Bureau of Indian Affairs (BIA), seeks to substitute

its expert listed at Docket 44, Paragraph 6 and amend the scheduling order at

Dkt. 27 accordingly. The Polks, through counsel, do not oppose this motion.



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The State of Alaska also does not oppose.

                                 BACKGROUND

      BIA had anticipated its expert appraiser would be a suitable expert

regarding valuation and therefore, retained him in this matter. Unfortunately,

there have been issues with him adhering to the deadline for his services,

which are outlined in detail in undersigned’s declaration. See Traini Decl.

Specifically, he notified the Government he was unable to completely meet his

deadline, despite having adequate notice of when it would be. Id. He also was

seeking to charge over twenty-times his contracted amount to complete the

work. Id. This expert estimated he had approximately 430 hours of work

remaining to complete the project. At that time, there were only 160 standard

working hours until the project was due. Id. Lastly, after the initiation of his

contract, counsel became aware of a State Court Order criticizing the

professionalism and veracity of his work in 1JU-19-00943CI. Ex. A.

      Because of these issues, BIA seeks to retain another qualified expert on

whose opinion the Court may rely for a valuation of the subject property. BIA

has located another qualified appraiser and requests the Court extend the

expert reporting deadline to January 2, 2023.

                                   ARGUMENT

      Federal Rule of Civil Procedure 16, provides that a pretrial schedule

“may be modified only for good cause and with the judge’s consent.” Fed. R.
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Civ. P. 16(b)(4); Fujifilm Corp. v. Motorola Mobility LLC, 2014 WL 8094582, at

*1 (N.D. Cal. Nov. 19, 2014) (citing cases). “Good cause requires a showing of

diligence.” Fujifilm, 2014 WL 8094582, at *1 (citing Johnson v. Mammoth

Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992)). “Although the existence

or degree of prejudice to the party opposing the modification might supply

additional reasons to deny a motion, the focus of the inquiry is upon the moving

party’s reasons for seeking the modification. If that party was not diligent, the

inquiry should end.” Johnson, 975 F.2d at 609 (internal citation omitted).

“What constitutes good cause sufficient to justify the modification of

a scheduling order necessarily         varies   with   the   circumstances   of   each

case.” Rang Dong Joint Stock Co. v. J.F. Hillebrand USA, Inc., 2020 WL

3841185, at *3 (E.D. Cal. July 8, 2020) (quoting 6A Charles A. Wright & Arthur

R. Miller, Federal Practice and Procedure § 1522.2 (3d ed. 2019)).

      Federal Rule of Civil Procedure 6(b) also applies where substitution is

sought after applicable scheduling order deadlines have passed. Miesen v.

Henderson, 2022 WL 392931 at *2 (citing Fed.R.Civ.P. 6(b)(1) and Harrison v.

United States, 2021 WL 1269119, at *8 (D. Alaska Apr. 6, 2021)). Rule 6(b)(1)

provides, in pertinent part: “When an act may or must be done within a

specified time, the court may, for good cause, extend the time ... on motion

made after the time has expired if the party failed to act because of excusable

neglect.” Fed.R.Civ.P. 6(b)(1); see also, Martinez v. Tarrant, 59 F. App’x 998,
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999 (9th Cir. 2003) (affirming district court order denying leave to substitute

expert witness because “[p]laintiffs did not demonstrate that the late

disclosure was due to excusable neglect”). “[T]he determination of whether

neglect is excusable is an equitable one that depends on at least four factors:

(1) the danger of prejudice to the opposing party; (2) the length of the delay and

its potential impact on the proceedings; (3) the reason for the delay; and (4)

whether the movant acted in good faith.” Bateman v. U.S. Postal Service, 231

F.3d 1220, 1223–24 (9th Cir. 2000). Rule 6(b), “like all the Federal Rules of

Civil Procedure, [is] to be liberally construed to effectuate the general purpose

of seeing that cases are tried on the merits.” Ahanchian v. Xenon Pictures, Inc.,

624 F.3d 1253, 1258–59 (9th Cir. 2010) (citation omitted).

      Courts have found good cause exists to modify a scheduling order when

an expert would no longer adhere to the agreement. See Landes v. Skil Power

Tools, 2013 WL 6859837, at *3 (E.D. Cal. Dec. 30, 2013) (good cause existed

where movant began search for new expert and promptly conferred with

opposing counsel upon learning retained expert would no longer adhere to

agreement). In this case, good cause is present because the expert is unable to

fully meet the deadlines given for his services and is seeking to charge twenty-

times over the contracted amount, which the Government finds unreasonable.

The Government promptly moved to discharge the expert and find a suitable

and willing replacement.
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Excusable Neglect Factors

      The first factor for the Court to consider is the prejudice to the opposing

party. Here, there is little prejudice, other than delay. All parties to this action

have non-opposed this motion. This Court has already confirmed the taking—

the only issue remaining is the valuation of property, thus there will almost be

no change to the state of the litigation. It will not require the State of Alaska

to retain new experts, or otherwise significantly impact their litigation

strategy.

      Allowing BIA to substitute its expert will also not unnecessarily delay

the proceedings. As soon as the issues with the expert became apparent, the

Government immediately began searching for a substitute expert. Traini Decl.

The Government quickly retained a substitute expert. The scope of the work

for the substitute expert will simply require the substituted expert to perform

a valuation for the property in question and write a report memorializing their

opinion. This can be accomplished on an expedited basis and will not cause

unnecessarily delays in the proceedings.

      The third factor weighs heavily in the Government’s favor. The expert at

issue was not able to fully meet his agreed upon deadline and is seeking to

charge more than the ceiling of the contract. Unfortunately, he is the sole cause

for BIA’s need to retain a new expert and the events could not have been

foreseen. Traini Decl.
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      Finally, the Court must consider whether BIA has acted in good faith.

Here, the Government’s expert was timely retained and given his agreed upon

assignment. It could not be reasonably foreseen that he would fail to meet his

deadline and that he would seek to charge well in excess of the agreed upon

contract amount. Id. In addition, the State Court Order criticizing his

credibility and veracity was not issued until June 10, 2022—over a year after

he was retained in this matter. Ex. A. Had such an opinion been issued about

the expert at the outset of this litigation, the Government would have never

retained him. As noted above, BIA has been diligent in addressing this issue.

      Because the Government does not wish to proffer an unqualified expert

before the Court, and because this expert cannot fully meet his contracted

duties, BIA hereby requests permission of the Court to replace him and reset

the relevant deadlines accordingly.

      RESPECTFULLY SUBMITTED on September 13, 2022, at Anchorage,

Alaska.

                                             S. LANE TUCKER
                                             United States Attorney


                                             s/ Jacquelyn A. Traini
                                             Assistant U.S. Attorney
                                             Attorney for the Defendant Bureau
                                             of Indian Affairs



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CERTIFICATE OF SERVICE

I hereby certify that on September 13, 2022,
a true and correct copy of the foregoing
was served electronically to:

Aisha Tinker Bray
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s/ Jacquelyn A. Traini
Office of the U.S. Attorney




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